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                   MEMORANDUM ENDORSEMENT



                                                                         The extension is granted. The Court notes, however, that it
                                                                         authorized only the filing of a memorandum of law addressed to
                                                                         the current record. No information dehors the record may be
October 20, 2020                                                         included in the memorandum of law. That being said, the Court
                                                                         will not prevent the plaintiff from making an application to make
                                                                         new factual claims as to jurisdiction. If it does so, the plaintiff
VIA ECF                                                                  must address the legal question of why the Court would be
Hon. Gabriel W. Gorenstein                                               permitted to consider new factual allegations as to jurisdiction
United States Magistrate Judge                                           that were not made in the operative complaint.
Daniel Patrick Moynihan
United States Courthouse                                                 So Ordered.
500 Pearl Street
New York, NY 10007
                                                                          October 20, 2020
         Re:      Off-White LLC v. 6014350, et al.
                  Civil Case No. 18-cv-5322 (GBD)(GWG)
                  Request for Extension of Time to File Additional Briefing

Dear Judge Gorenstein,

        We represent Plaintiff Off-White LLC (“Plaintiff” or “Off-White”) in the above-referenced
        1
action. Pursuant to the Order entered on October 1, 2020, Plaintiff must file additional briefing in
further support of its Motion for Default Judgment by no later than October 23, 2020 (“Additional
Briefing”). (Dkt. 47.) To fully address and respond to the Court’s inquiries, Plaintiff has requested
additional information from eBay to submit along with its Additional Briefing, and has been advised by
eBay that the requested information will be provided by the end of this week, at the earliest. Accordingly,
Plaintiff respectfully requests that the Court extend its time to file the Additional Briefing for a period
of one week, until October 30, 2020, to allow Plaintiff sufficient time to receive and analyze the
information provided by eBay. This is Plaintiff’s first request for an extension of time to file the
Additional Briefing.

         We thank the Court for its time and attention to this matter.

                                                               Respectfully submitted,

                                                               EPSTEIN DRANGEL LLP
                                                               BY: /s/ Danielle S. Yamali
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1
 Where a defined term is referenced herein but not defined, it should be understood as it is defined in the Complaint or
Application.
